
MEMORANDUM *
Clinton Irving, administrator for the estate of Marie Francis Holt, appeals two distinct orders of dismissal from the Bankruptcy Appellate Panel (“BAP”) arising out of a single case. The BAP dismissed one appeal because Irving lacked standing, the other because the property had been sold and the ease thus mooted pursuant to the “bankruptcy mootness rule.”1 The BAP offered Irving a stay, but the estate failed to put up the bond required. The property was thereafter sold and the case mooted because failure to obtain a stay is fatal to the case.2 We therefore affirm the BAP’s dismissal of 04-55616 as moot.
We also affirm the BAP decision in 04-55977 that the probate estate lacked standing because it neither objected to the compromise agreement between the “Cinderella Living Trust” and the bankruptcy estate nor demonstrated that it was “adversely affected pecuniarily.”3
*16AFFIRMED. All pending motions in these cases are denied as MOOT.

. In re Onouli-Kona Land Co., 846 F.2d 1170, 1173 (9th Cir. 1988).


 This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir. R. 36-3.


. See In re National Mass Media Telecommunication Systems, Inc., 152 F.3d 1178, 1181 (9th Cir. 1998).


. In re Fondiller, 707 F.2d 441, 442 (9th Cir. 1983).

